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                              UNITED STATES DISTRICT COURT
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                         NORTHERN DISTRICT OF CALIFORNIA
14
                                 SAN FRANCISCO DIVISION
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16 SECURITIES AND EXCHANGE COMMISSION,          Case No. 3:23-mc-80253-JSC
17               Applicant,

          v.                                    STIPULATION AND [PROPOSED]
18                                              ORDER
19 ELON MUSK,

20               Respondent.

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     STIPULATION AND [PROPOSED] ORDER                                       SEC V. MUSK
                                                               CASE NO. 23-MC-80253-JSC
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 1                                              STIPULATION
 2           Plaintiff Securities and Exchange Commission (“SEC” or “Commission”) and
 3   Respondent Elon Musk (together, “the Parties”), by and through their respective counsels of
 4   record, hereby agree and stipulate as follows:
 5           WHEREAS the parties have conferred regarding the date and location of Respondent’s
 6   additional investigative testimony, and agreed to conduct the testimony at one of four specified
 7   SEC offices on a date more than 60 days from the Court’s May 14, 2024 Order (the parties have
 8   agreed in writing to a particular date but have not included that date here for confidentiality
 9   purposes);
10           WHEREAS Respondent has agreed to inform the SEC in writing, no fewer than 14 days
11   before the agreed-upon testimony date, which of the four SEC offices he has chosen for the
12   location of this testimony.
13           WHEREAS Respondent has agreed to waive any right to appeal the May 14, 2024 Order
14   enforcing the SEC’s subpoena by permitting one session of additional investigative testimony
15   not to exceed five hours of questioning, not otherwise challenge the legitimacy of that Order
16   requiring one session of additional investigative testimony not to exceed five hours of
17   questioning, and not challenge the SEC’s right to take such testimony;
18           WHEREAS Respondent has agreed that the agreed-upon date and time for the testimony
19   may be rescheduled only upon written consent by the SEC or order of the Court, and further
20   agrees to not seek delay or rescheduling of the testimony absent an emergency that Respondent
21   did not create and could not avoid;
22           WHEREFORE, the Parties hereby stipulate to, and respectfully request the Court enter
23   the attached [Proposed] Order stating as follows:
24           (1) Respondent shall appear in person for testimony at one of four specified SEC offices
25                identified by Respondent on the date and time agreed upon in writing by the parties;
26           (2) Respondent shall inform the SEC in writing, no fewer than 14 days before the
27                agreed-upon testimony date, which of the four SEC offices he has chosen for the
28                location of this testimony.

      STIPULATION AND [PROPOSED] ORDER                                                        SEC V. MUSK
                                                                                 CASE NO. 23-MC-80253-JSC
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 1          (3) Respondent, having waived his right to appeal this Court’s May 14, 2024 Order
 2              enforcing the SEC’s subpoena by permitting one session of additional investigative
 3              testimony not to exceed five hours of questioning, shall not appeal that Order,
 4              otherwise challenge the legitimacy of that Order requiring one session of additional
 5              investigative testimony not to exceed five hours of questioning, or challenge the
 6              SEC’s right to take such testimony; and
 7          (4) The agreed-upon date and time for Respondent’s testimony may be rescheduled only
 8              upon written consent of the SEC or order of the Court, and Respondent shall not seek
 9              delay or rescheduling of the testimony absent an emergency that Respondent did not
10              create and could not avoid.
11

12          STIPULATED AND AGREED TO BY:

13          Dated: May 30, 2024                             /s/ Robin Andrews
                                                            Robin Andrews
14                                                          Attorney for Applicant
15                                                          SECURITIES AND EXCHANGE
                                                            COMMISSION
16

17          Dated: May 30, 2024                             /s/ Alex Spiro
                                                            Alex Spiro
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                                                            QUINN EMANUEL URQUHART &
19                                                          SULLIVAN, LLP
                                                            Attorney for Respondent
20                                                          ELON MUSK

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                              LOCAL RULE 5-1(h)(3) ATTESTATION
23          Pursuant to L.R. 5-1(h)(3), I, Robin Andrews, attest that all signatories identified
24   above, and on whose behalf the filing is submitted, concur in the filing’s content and have
25   authorized the filing.
26                                                 /s/ Robin Andrews
                                                   Robin Andrews
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      STIPULATION AND [PROPOSED] ORDER                                                     SEC V. MUSK
                                                                              CASE NO. 23-MC-80253-JSC
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 1                                       [PROPOSED] ORDER
 2          Based on the foregoing stipulation, and for good cause shown, IT IS HEREBY
 3   ORDERED that:
 4          (1) Respondent shall appear in person for testimony at one of four specified SEC offices
 5              identified by Respondent on the date and time agreed upon in writing by the parties;
 6          (2) Respondent shall inform the SEC in writing, no fewer than 14 days before the
 7              agreed-upon testimony date, which of the four SEC offices he has chosen for the
 8              location of this testimony.
 9          (3) Respondent, having waived his right to appeal this Court’s May 14, 2024 Order
10              enforcing the SEC’s subpoena by permitting one session of additional investigative
11              testimony not to exceed five hours of questioning, shall not appeal that Order,
12              otherwise challenge the legitimacy of that Order requiring one session of additional
13              investigative testimony not to exceed five hours of questioning, or challenge the
14              SEC’s right to take such testimony; and
15          (4) The agreed-upon date and time for Respondent’s testimony may be rescheduled only
16              upon written consent of the SEC or order of the Court, and Respondent shall not seek
17              delay or rescheduling of the testimony absent an emergency that Respondent did not
18              create and could not avoid.
19          IT IS FURTHER ORDERED that this Court shall retain jurisdiction over this matter for
20   the purposes of giving full effect to this Order and to make such further orders and decrees or
21   take such action as may become necessary or appropriate to carry out the terms of this Order.
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     Dated: ________, 2024
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24                                                  UNITED STATES DISTRICT JUDGE

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      STIPULATION AND [PROPOSED] ORDER                                                      SEC V. MUSK
                                                                               CASE NO. 23-MC-80253-JSC
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